                                                                                               Case 3:16-cv-02120-EMC Document 330-1 Filed 06/30/22 Page 1 of 2



                                                                                           1    WEINER BRODSKY KIDER PC
                                                                                                Mitchel H. Kider, CA Bar No. 116479
                                                                                           2    Jason W. McElroy (pro hac vice)
                                                                                                Joseph M. Katz (pro hac vice)
                                                                                           3    Jasmine Jean-Louis (pro hac vice)
                                                                                                1300 19th Street, NW Fifth Floor
                                                                                           4    Washington, DC 20036
                                                                                                Telephone: 202.628.2000
                                                                                           5    Facsimile: 202.628.2011
                                                                                                Email: kider@thewbkfirm.com, mcelroy@thewbkfirm.com,
                                                                                           6           katz@thewbkfirm.com, jean-louis@thewbkfirm.com

                                                                                           7    OGLETREE, DEAKINS, NASH, SMOAK & STEWART, P.C.
                                                                                                Thomas M. McInerney, CA Bar No. 162055
                                                                                           8
                                                                                                One Embarcadero Center, Suite 900
                                                                                           9    San Francisco, CA 94111
                                                                                                Telephone: 415.442.4810
                                                                                          10    Facsimile: 415.442.4870
                                                                                                Email: tmm@ogletree.com
                          A Professional Corporation formed in the District of Columbia




                                                                                          11
                                                                                                Attorneys for Defendant Academy Mortgage Corporation
                                                                                          12
WEINER BRODSKY KIDER PC




                                                                                          13                              UNITED STATES DISTRICT COURT
                                                                                                                        NORTHERN DISTRICT OF CALIFORNIA
                                                                                          14
                                                                                                UNITED STATES OF AMERICA, EX                     Civil Action No. 3:16-cv-02120 (EMC) (SK)
                                                                                          15    REL. GWEN THROWER,

                                                                                          16                       Plaintiff,
                                                                                                                                                 [PROPOSED] ORDER GRANTING
                                                                                          17           vs.                                       DEFENDANT ACADEMY MORTGAGE
                                                                                                                                                 CORPORATION’S ADMINISTRATIVE
                                                                                          18    ACADEMY MORTGAGE                                 MOTION TO FILE UNDER SEAL
                                                                                                CORPORATION,
                                                                                          19                                                        Judge:       Hon. Edward M. Chen
                                                                                                                   Defendant.
                                                                                          20

                                                                                          21

                                                                                          22          Upon consideration of Defendant Academy Mortgage Corporation’s (“Academy”)

                                                                                          23   Statement Concerning Relator’s Motion to Consider Whether Another Party’s Material Should be

                                                                                          24   Sealed (“Motion”), ECF 323, it is hereby ORDERED that the Motion is Granted. There is a

                                                                                          25   compelling reason that warrants the sealing of the Exhibits.

                                                                                          26          The Documents will be sealed pursuant to the following:

                                                                                          27

                                                                                          28                                                  -1-
                                                                                                                                                             Proposed Order Granting Motion to File under Seal
                                                                                                                                                                         Case No. 3:16-cv-02120 (EMC) (SK)
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                                                                                           1   Document                                      Portion to Seal
                                                                                           2   Ex. A-1 Expert Report of Susan E. Neal        Expert report and accompanying appendices
                                                                                           3   concerning Relator’s Motion for Partial       and exhibits, excluding expert’s CV and
                                                                                           4   Summary Judgment                              qualifications.
                                                                                           5   Ex. A-5 Communications with HUD produced Entire document
                                                                                           6   by Academy concerning Relator’s Motion for
                                                                                           7   Partial Summary Judgment
                                                                                           8

                                                                                           9   DATED: June 30, 2022                         By
                                                                                                                                            Hon. Edward M. Chen
                                                                                          10                                                UNITED STATES DISTRICT COURT JUDGE
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                                                                                                                                            NORTHERN DISTRICT OF CALIFORNIA
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WEINER BRODSKY KIDER PC




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                                                                                                                                                     Proposed Order Granting Motion to File under Seal
                                                                                                                                                                 Case No. 3:16-cv-02120 (EMC) (SK)
